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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF WISCONSIN


      In re: Terry W & Marion I Bubb                                Case No. 17-13567-13

                       Debtor(s)


  TRUSTEE'S RECOMMENDATION OF MODIFIED CHAPTER 13 PLAN and AMENDED
                            SCHEDULES


Mark Harring, Standing 13 Trustee, by his attorney, recommends confirmation of the Third
Modified Chapter 13 Plan and Request to Modify Confirmed Plan filed as Document #79 on
9/29/2020 together with Amended Schedules I&J filed as Document #78 and states as follows:

1. Plan is modified to provide for a plan payment of $2160 in October 2020 and then payments
of $1,160/mo starting in November 2020 and for the remaining months of the plan. The amended
budget supports the debtors' ability to make the higher plan payments.

2. Plan is modified to provide for payment of $500 additional attorney fees.

3. Plan is modified to provide for 100% distribution to file unsecured claims. This provision
resolves the pending inquiry by this office into the status of an inheritance received by Mrs.
Bubb. In light of the facts, the debtors must complete a 100% plan or discharge will not be
granted.

4. The Motion to Dismiss previously filed in this case is withdrawn and any dismissal hearing
being scheduled may be removed from the calendar.

Dated: September 30, 2020

                                             Standing Chapter 13 Trustee

                                             By:     /s/Leslie Brodhead Griffith
                                             Leslie Brodhead Griffith
                                             Attorney for Trustee
                                             131 W. Wilson St., Suite 1000
                                             Madison, WI 53703-3260
                                             (608) 256-4320
